              Case 2:12-cr-00185-TLN Document 77 Filed 06/05/13 Page 1 of 3



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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Nadeem Khan
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                )   Case No.: 2:12-cr-00185-TLN
 9   UNITED STATES OF AMERICA,                  )
                                                )
10                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   CONTINUANCE OF STATUS
11       vs.                                    )   CONFERENCE
     ROBB HARRISON CHEAL, et al.,               )
12                                              )
                  Defendants.                   )
13                                              )
14
15         The United States of America through its undersigned counsel, Jason Hitt,

16   Assistant United States Attorney, together with Thomas A. Johnson, counsel for

17   defendant Nadeem Khan, Michael Petrik, Jr., counsel for defendant Robb Cheal, Olaf

18   Hedberg, counsel for defendant Robert Carrillo, and Christopher Cosca, counsel for

19   defendant Ryan Cheal, hereby stipulate the following:

20      1. By previous order, this matter was set for status conference on June 6, 2013.

21      2. By this stipulation, defendants now move to continue the status conference to

22         September 5, 2013, at 9:30 a.m., and to exclude time between June 6, 2013, and

23         September 5, 2013 under the Local Code T-4 (to allow defense counsel time to

24         prepare).

25      3. The parties agree and stipulate, and request the Court find the following:

26         a. Defense counsel for Robert Carrillo, Olaf Hedberg, is currently in a trial.

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            Case 2:12-cr-00185-TLN Document 77 Filed 06/05/13 Page 2 of 3



 1        b. Additionally, a continuance is requested because all counsel for the defendants
 2            need additional time to review the discovery, conduct investigation, and
 3            discuss potential resolutions.
 4        c. Counsel for defendants believe the failure to grant a continuance in this case
 5            would deny defense counsel reasonable time necessary for effective
 6            preparation, taking into account the exercise of due diligence.
 7        d. The Government does not object to the continuance.
 8        e. Based on the above-stated findings, the ends of justice served by granting the
 9            requested continuance outweigh the best interests of the public and the
10            defendants in a speedy trial within the original date prescribed by the Speedy
11            Trial Act.
12        f. For the purpose of computing time under the Speedy Trial Act, 18 United
13            States Code Section 3161(h)(7)(A) within which trial must commence, the
14            time period of June 6, 2013, to September 5, 2013, inclusive, is deemed
15            excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
16            (B)(iv), corresponding to Local Code T-4 because it results from a continuance
17            granted by the Court at defendant’s request on the basis of the Court’s finding
18            that the ends of justice served by taking such action outweigh the best interest
19            of the public and the defendant in a speedy trial.
20     4. Nothing in this stipulation and order shall preclude a finding that other provisions
21        of the Speedy Trial Act dictate that additional time periods are excludable from
22        the period within which a trial must commence.
23   IT IS SO STIPULATED.
24
25   DATE: June 4, 2013
26                                                          /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
27                                                          Attorney for Nadeem Khan

28   DATED: June 4, 2013                                    BENJAMIN B. WAGNER



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             Case 2:12-cr-00185-TLN Document 77 Filed 06/05/13 Page 3 of 3


                                                    United States Attorney
 1
                                              By:    /s/ Thomas A. Johnson for
 2                                                  JASON HITT
                                                    Assistant U.S. Attorney
 3
     DATED: June 4, 2013
 4                                            By:   /s/ Thomas A. Johnson for
                                                    MICHAEL PETRIK, Jr.
 5                                                  Attorney for Robb Cheal
 6   DATED: June 4, 2013
                                              By:   /s/ Thomas A. Johnson for
 7                                                  CHRISTOPHER COSCA
                                                    Attorney for Ryan Cheal
 8
     DATED: June 4, 2013
 9                                            By:   /s/ Thomas A. Johnson for
                                                    OLAF HEDBURG
10                                                  Attorney for Robert Carrillo
11
12                                     ORDER
13
14         IT IS SO ORDERED.

15
16   Dated: June 4, 2013                            Troy L. Nunley
                                                    United States District Judge
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